                              NO. 07-10-00140-CV
                                       
                            IN THE COURT OF APPEALS
                                       
                       FOR THE SEVENTH DISTRICT OF TEXAS
                                       
                                  AT AMARILLO
                                       
                                    PANEL A
                                       
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APRIL 22, 2010
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                        WAYNE ERNEST BARKER, APPELLANT
                                       
                                      v.
                                       
                  ROBYN FLOWERS AND MELISSA MIKES, APPELLEES 
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                FROM THE 278TH DISTRICT COURT OF WALKER COUNTY;
                                       
                      HONORABLE KENNETH H. KEELING, JUDGE
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Before CAMPBELL and HANCOCK and PIRTLE, JJ.


                              MEMORANDUM OPINION
                                       
                                       
Appellant, Wayne Barker, filed a notice of appeal on March 16, 2010, in the Waco Court of Appeals.  In his notice, he explains that he attempts to appeal from the 278th District Clerk's refusal to file his petition for writ of mandamus in the trial court.
	On March 18, 2010, the Waco court sent a letter to Barker noting that, based on his notice of appeal, it appeared that it was without jurisdiction over his appeal.  The court directed him to respond by showing how the court had jurisdiction and warned him that, unless grounds were shown to continue the appeal, his appeal would be dismissed.  See Tex. R. App. P. 42.3(c).  He was given until April 8, 2010, to comply.
	On April 8, 2010, pursuant to the Texas Supreme Court's docket equalization efforts, this case was transferred from the Waco Court of Appeals to this Court.  See Tex. Gov't Code Ann. § 73.001 (Vernon 2005).  To date, Barker has failed to respond to the letter directing him to show grounds for continuing this appeal.
	Generally, only final judgments of trial courts are appealable.  Tex. Civ. Prac. &amp; Rem. Code Ann. § 51.012 (Vernon Supp. 2009); Lehmann v. Har-Con Corp., 39 S.W.3d 191, 195 (Tex. 2001).  Barker asserts in his notice of appeal that there is no record in this case because the case was never filed.  Therefore, naturally, there could be no final, appealable order for our review.  Without a final, appealable order, we are without jurisdiction.  Barker has failed to show how we otherwise have jurisdiction over this appeal.
	Accordingly, we dismiss his appeal for want of jurisdiction.  See Tex. R. App. P. 42.3(a).


								Mackey K. Hancock
									Justice

                                       
	

